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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG

 UNITED STATES OF AMERICA ex rel.
 JOSEPH SEIKEL and TERENCE SEIKEL,

                Plaintiffs-Relators,

 v.                                                          Civil Action No.: 1:23-CV-1
                                                             (JUDGE KLEEH)
 DAVID B. ALVAREZ,
 APPLIED CONSTRUCTION SOLUTIONS, INC.,
 ENERGY TRANSPORTATION, LLC,
 ENERGY RESOURCE GROUP, LLC,
 ET360, LLC,
 BEAR CONTRACTING, LLC,
 BEAR UTILITIES, LLC,
 JASON P. HENDERSON, and
 JOHN DOES NOS. 1-50,

                Defendants.

                   ORDER RESULTING FROM STATUS CONFERENCE

        The undersigned convened a status conference, by videoconference, on November 1, 2023,

 at which appeared Anthony Majestro, Will Powers, and Kenny Capesius for Plaintiffs Joseph

 Seikel and Terence Seikel; Patricia Kipnis and Rebecca Pomeroy for Defendants David B.

 Alvarez, Applied Construction Solutions, Inc., Energy Transportation, LLC; and Shawn Morgan

 for Defendants Jason P. Henderson, Energy Resource Group, LLC, and ET360, LLC.

        On September 19, 2023, the undersigned entered an order [ECF No. 112] concerning the

 matters referred by the Hon. Thomas S. Kleeh, Chief United States District Judge [ECF Nos. 103,

 111]. It appears that the parties have begun the discovery process. The issue raised at the status

 conference was a matter of extending the scheduled period for discovery. The parties further

 indicated that they are agreeable to an extension, however, the issue remains regarding the length

 of an extension. The parties informed the undersigned that a met and confer is scheduled for this

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 Friday, November 3, 2023 to determine if the parties can agree to an appropriate extension of the

 discovery schedule. The undersigned advised that if the parties are unable to do so, the parties

 should file a motion to extend the time for discovery with the District Judge. If the parties are able

 to agree upon an extension of time, it would be subject to the approval of the District Judge.

        It is all so ORDERED.

        The Clerk of the Court is DIRECTED to provide a copy of this Order to any parties who

 appear pro se and all counsel of record, as provided in the Administrative Procedures for Electronic

 Case Filing in the United States District Court for the Northern District of West Virginia.

        DATED: November 1, 2023.




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